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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF LOUISIANA
                                 ALEXANDRIA DIVISION


IBRAHIM AHMED RACHID OUATTARA                          CASE NO. 1:21-CV-00584 SEC P
#A201-348-292

VERSUS                                                 JUDGE DAVID C. JOSEPH

KEITH DEILLE ET AL                                     MAGISTRATE JUDGE PEREZ-MONTES


                                              ORDER

       Plaintiff has been served more than fourteen (14) days ago with a Notice of Intent to

Dismiss this case under LR 41.3 for the reason that service of the summons and complaint was

not made within 90 days of the institution of this civil action and Plaintiff has failed to show

good cause for this deficiency. Accordingly,

       IT IS ORDERED that this action be dismissed in its entirety. This action may be

reinstated within thirty (30) days for good cause shown.

       For questions regarding this document or transmission, please call our CM/ECF help

desk at 1-866-323-1101.

       THUS DONE July 6, 2021.



                                                  TONY R. MOORE
                                                  CLERK OF COURT
